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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS


MAGNACHARGE LLC

                      Plaintiff,                  Civil Action No. 4:20-cv-237
       v.

IKEA NORTH AMERICA SERVICES,                      JURY TRIAL DEMANDED
LLC and IKEA DALLAS, L.P.,

                      Defendant.



                UNOPPOSED MOTION TO STAY ALL DEADLINES AND
                          NOTICE OF SETTLEMENT


       Plaintiff Magnacharge LLC (“Magnacharge”) and Defendants Ikea North America

Services, LLC and Ikea Dallas, L.P. (“Ikea”) have reached an agreement in principle that resolves

all matters in controversy between them in the above-captioned action. Accordingly, the parties

jointly ask that the Court stay all pending deadlines between them for 45 days, so that the parties

may finalize and file dismissal papers without incurring additional expenses. Plaintiff makes this

motion with the consent of Defendants, who have not yet formally appeared in this action.
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Dated: October 2, 2020                    DEVLIN LAW FIRM LLC


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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have

consented to electronic services are being served with a copy of this document via the Court’s

CM/ECF system per Local Rule CV-5(a)(3) on this the 2nd day of October, 2020.


                                         /s/ Robert Kiddie
                                         Robert Kiddie




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